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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS



UNITED STATES OF AMERICA                       )
                                               )
v.                                             )                      4:13MJ4020-03 HDY
                                               )
AUSTIN TAYLOR                                  )



                                              ORDER

       In addition to the conditions of release contained in the Court’s Order of August 19,

2013, the following conditions are imposed:

       1.     The defendant is to avoid all contact, directly or indirectly, with co-defendant Blake

Taylor; and

       2.     The defendant shall not be present in the Rocky Top residential area.

       IT IS SO ORDERED this 20 day of August, 2013.




                                                   UNITED STATES MAGISTRATE JUDGE
